                    IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF KANSAS

 IN RE:                               )
                                      )
        PARIS EDWARD THOMAS LOYLE     )                            Case No.       19-10065
        KATHERINE CHRISTINE LOYLE,    )                            Chapter        7
                                      )
                          Debtors.    )
                                      )
 PARIS EDWARD THOMAS LOYLE AND        )
 KATHERINE CHRISTINE LOYLE,           )
                  Plaintiffs          )
                                      )
 vs.                                  )
                                      )
 UNITED STATES DEPARTMENT OF          )
 EDUCATION, NAVIENT SOLUTIONS LLC,    )
 EDUCATIONAL CREDIT MANAGEMENT        )                            Adv. Proc. No. 20-5073
 CORPORATION, FEDLOAN SERVICING,      )
 EDUCATIONAL COMPUTER SYSTEMS, INC, )
 R3 EDUCATION INC, FIRSTMARK          )
 SERVICES, CITIZENS ONE, TAB BANK,    )
 LIBERTY BANK nka THE MIDDLEFIELD     )
 BANKING COMPANY, FCDB NPSL III TRUST )
 2014-1, AND CORONADO STUDENT LOAN    )
 TRUST                                )
                  Defendants.         )

                 DEBTORS’ AMENDED COMPLAINT TO DETERMINE
                       DISCHARGE OF STUDENT LOANS

       Plaintiffs, Paris and Katherine Loyle, by and through their undersigned counsel, hereby

requests that the Court enter an order determining that the Plaintiffs are entitled to a discharge of

their student loans, as excepting such discharge would be an undue hardship for the Plaintiffs

pursuant to 11 U.S.C. § 523(a)(8). In support of their Complaint, the Loyles state as follows:

                                 JURISDICTION AND VENUE

   1. On January 17, 2019, the Debtors/Plaintiffs, Paris Edward Thomas Loyle and Katherine

       Christine Loyle, filed a voluntary petition for relief under Chapter 7 of the Bankruptcy




                 Case 20-05073        Doc# 80     Filed 08/04/20      Page 1 of 9
   Code, case number 19-10065, in the United States Bankruptcy Court for the District of

   Kansas.

2. This Court has jurisdiction over this proceeding under 28 U.S.C. § 1334(b) and 28 U.S.C.

   § 157(a) and (b)(2)(I). Plaintiffs consent to entry of final orders and judgments by the

   Bankruptcy Court.

3. This Court has venue over this proceeding under 28 U.S.C. §§ 1408 and 1409.

                                        PARTIES

4. Plaintiffs are natural persons presently residing in Kansas and are the Debtors in the

   associated bankruptcy case.

5. Defendant, the United States Department of Education is an executive agency of the

   government of the United States of America. Service of process may be effectuated

   pursuant to FRBP 7004(b)(4) by mailing copies of the Complaint and Summons to:

       a. Civil Process Clerk, Office of Stephen McAllister, US Attorney for the District of

           Kansas, at 301 N. Main Street, Ste 1200, Wichita, Kansas, 67202;

       b. Attorney General of the United States, US Department of Justice, 950

           Pennsylvania Avenue, NW, Washington, DC 20530-0001;

       c. Education Department, Office of General Counsel, 400 Maryland Ave, SW,

           Room 6E353, Washington, DC 20202-2110.

6. Defendant, Navient Solutions, LLC, is a corporation registered in the State of Kansas.

   Navient may be served at its registered agent, Corporation Service Company, 2900 SW

   Wanamaker Drive, Ste 204, Topeka, KS, 66614.

7. Defendant, Educational Credit Management Corporation (“ECMC”) is not registered to

   do business in Kansas. According to its website, it may be contacted by US mail at




             Case 20-05073       Doc# 80     Filed 08/04/20     Page 2 of 9
   ECMC, 111 Washington Avenue South, Ste 1400, Minneapolis, MN 55401. ECMC may

   also be served by its Minnesota registered agent, CT Corporation System, Inc, 1010 Dale

   St N, St. Paul, MN, 55117-5603.

8. Defendant, FedLoan Servicing is not registered to do business in the state of Kansas.

   According to its website, letters and correspondence may be sent to FedLoan Servicing,

   PO Box 69184, Harrisburg, PA, 17106-9184. FedLoan Servicing is owned by

   Pennsylvania Higher Education Assistance Agency (“PHEAA”). PHEAA is not

   registered to do business in the state of Kansas, but may be served at its Nationwide

   Multistate Licensing System (“NMLS”) address, 1200 North 7th Street, Harrisburg, PA,

   17102.

9. Defendant, Educational Computer Systems, Inc, (“ECSI”), is registered to do business in

   the state of Kansas and may be served at its registered agent, The Corporation Company,

   Inc, 112 SW 7th Street, Suite 3C, Topeka, KS 66603.

10. Defendant, R3 Education Inc. is not registered to do business in Kansas. It may be

   served at its principal office, 27 Jackson Road, Suite 300, Devens, MA 01434, and by its

   Massachusetts registered agent, Corporation Service Company, 84 State Street, Boston,

   MA 02110.

11. Defendant, Firstmark Services, is a division of Nelnet Servicing, LLC. Neither is

   registered to do business in the state of Kansas. It may be served at its NMLS registered

   address, 121 South 13th Street, Lincoln, NE 68508.

12. Defendant, Citizens One, is the national lending division for Citizens Bank, NA, which

   may be served by certified mail to an officer at One Citizens Plaza, Providence, RI

   02903.




             Case 20-05073       Doc# 80     Filed 08/04/20    Page 3 of 9
13. Defendant, TAB Bank, is a dba for Transportation Alliance Bank, Inc, which may be

   served by certified mail to an officer at 4185 Harrison Boulevard, Suite 200, Ogden, UT

   84403.

14. Defendant, Liberty Bank, may be served to its successor institution, The Middlefield

   Banking Company, by certified mail to an officer at 1585 East High Street, Middlefield,

   OH, 44062.

15. Defendant, FCDB NPSL III TRUST 2014-1, is not registered to do business in Kansas.

   It may be served through its Delaware agent, The Corporation Trust Company,

   Corporation Trust Center 1209 Orange ST, Wilmington, DE 19801.

       a. This defendant may also be served through its representative, Weltman, Weinberg

            & Reis, Attn Eileen M Bitterman, 965 Keynote Circle, Brooklyn Heights, OH

            44131.

       b. This defendant may also be served through its representative, Asset Recovery

            Solutions, Attn Officer or Agent, Co the Corporation Company, 112 SW 7th Street

            Ste 3C, Topeka, KS 66603.

       c. This defendant may also be served through its representative, Simm Associates,

            Inc., Attn Officer or Agent, Co Corporation Service Company, 2900 Wanamaker

            Drive Ste 204, Topeka, KS 66614.

16. Defendant, Coronado Student Loan Trust, is not registered to do business in Kansas. It

   may be served through its Delaware Agent, Wilmington Savings Fund Society, FSB, 500

   Delaware Ave, 11th Floor, Wilmington, DE 19801.




              Case 20-05073      Doc# 80     Filed 08/04/20    Page 4 of 9
           a. This defendant may also be served through its representative, Asset Recovery

              Solutions, Attn Officer or Agent, Co the Corporation Company, 112 SW 7th Street

              Ste 3C, Topeka, KS 66603.

                                            FACTS

Facts Relating Solely to Paris Loyle

   17. Plaintiff, Paris Loyle, obtained a Bachelor of Arts in English from Regis University in

       Denver, Colorado, in 1993.

   18. He obtained a Doctor of Chiropractic from Parker University in Dallas, Texas, in 1998.

   19. From September 2007 to April 2012, Paris attended St. Matthew’s University in the

       Cayman Islands, obtaining a Medical Doctor degree.

   20. Following his graduation, Paris was not matched with a residency program. He has

       attempted to be matched to residency programs since his graduation, however, he has

       been unable to be matched.

   21. Without a residency, Paris is unable to become a fully licensed medical doctor.

   22. Paris has student loans serviced by Navient for the Department of Education. These

       consist of the Direct Consolidated Subsidized Loan and Direct Consolidated

       Unsubsidized Loan.

   23. The current principal balances on these loans are approximately $77,519 and $136,353.

       He is currently on an Income Based Repayment Program with these loans.

   24. Paris has loans through Navient called “Grad Excel” loans. He owes principal balance of

       approximately $52,698 on these two loans.

   25. Paris has a loan through R3 Education Inc., which is serviced through ECSI. He owes

       approximately $8,603 in principal balance on this loan.




                 Case 20-05073         Doc# 80   Filed 08/04/20    Page 5 of 9
26. Paris has a loan through TAB Bank, with a current principal balance of approximately

   $25,122.

27. Paris has a loan originally taken out through Student Loan Xpress, with a current

   principal balance of approximately $68,986. Upon information and belief, this loan is

   currently owned by FCDB NPSL III Trust 2014-1 and/or the Coronado Student Loan

   Trust and guaranteed by Liberty Bank, N.A.

28. In total, Paris owes principal of approximately $369,281 on his student loans.

29. Paris is currently employed at Air Capital Chiropractic LLC in Wichita, Kansas.

Facts Relating Solely to Katherine Loyle

30. Plaintiff, Katherine Loyle, obtained a Bachelor of Science in Secondary Education from

   the University of Maine in 2000.

31. She obtained a Master of Arts in Education Curriculum and Instruction from the

   University of Phoenix in 2003.

32. In 2011, Katherine obtained a Master of Arts in Interdisciplinary Studies, English and

   Communications, from the University of Houston-Victoria.

33. Katherine owes student loans serviced by FedLoan Servicing and owned by the

   Department of Education. She has both a subsidized consolidation loan and an

   unsubsidized consolidation loan.

34. For these two loans, Katherine owes principal amounts of approximately $48,831 and

   $98,294.

35. Katherine also owes Firstmark Services, guaranteed by Citizens One, approximately

   $28,298.

36. Paris’s mother, Pam Loyle, is cosigned with Katherine on the Firstmark loan.




              Case 20-05073      Doc# 80     Filed 08/04/20     Page 6 of 9
   37. In total, Katherine owes approximately $175,425 on her student loans.

   38. Katherine currently works for U.S.D. 385, Andover Public Schools, where she earns a

       gross salary of $57,545 for the 2019-2020 school year.

Facts Relating to Both Plaintiffs

   39. The Plaintiffs have 5 children together, 4 daughters and 1 son. At this time, their children

       are aged 17, 15, 13, 8, and 4.

   40. In 2019, the Plaintiffs had gross wages of $112,009.

   41. In 2018, the Plaintiffs had gross wages of $126,955, and gross receipts from tutoring of

       $4,558, for a total income on their tax return of $131,513.

   42. This was an increase from previous years, as they had a total income in 2017 of $73,415,

       and in 2016 of $55,424.

   43. The Plaintiffs have an approximate net income of $7,835.56 per month.

   44. The Plaintiffs regular monthly expenses, other than student loans, total approximately

       $7,200 per month.

   45. The difference between the income and expenses for the Plaintiffs totals $635.56.

   46. The Plaintiffs’ combined student loans are summarized in the following table:




                 Case 20-05073          Doc# 80   Filed 08/04/20     Page 7 of 9
                                                         Date of         Original Loan      Current
    Person                   Loan Type                     Loan            Amount           Principal
  Paris           Direct Consolidated Subsidized         5/11/2012             $68,105.00    $77,519.00
  Paris           Direct Consolidated Unsubsidized       5/11/2012            $105,402.00   $136,353.00
  Paris           Grad Excel                             8/30/2006             $19,200.30
                                                                                               $52,698.26
  Paris           Grad Excel                            12/28/2006             $19,199.25
  Paris           Heartland Lender R3                    3/24/2010             $10,000.00       $8,603.07
  Paris           Transportation Alliance (TAB)                                                $25,122.00
  Paris           AES                                    8/29/2007             $69,399.00      $68,986.00
  Katherine       Direct Sub Consolidation Loan          5/17/2012             $40,254.36      $48,831.99
  Katherine       Direct Unsub Consolidation Loan        5/17/2012             $75,104.67      $98,294.67
  Katherine       Firstmark Citizens1                    2/18/2015             $35,954.87      $28,298.23

  Total                                                                                       $544,706.22


                                             ARGUMENT

The Plaintiffs cannot maintain a minimal standard of living while repaying the student loan debt.

   47. It is clear from the Plaintiffs’ current budget that they are unable to maintain a minimal

          standard of living for themselves and their dependents while making any meaningful

          payment on the student loans.

   48. The Plaintiffs have over $544,000 in student loans together.

   49. Any sort of payment that the Plaintiffs could make on the student loans would not even

          pay for the interest accruing on the loans.

The Plaintiffs’ situation is likely to persist for a significant portion of the repayment period.

   50. As the Plaintiffs have several minor children, and Dr. Loyle is unable to be a licensed

          medical doctor, it is unlikely that they would have enough funds at any point in the future

          to make a meaningful payment on the student loans.

The Plaintiffs file this adversary proceeding to discharge the student loans in good faith.

   51. The Plaintiffs have made a good faith effort to repay the student loans and are seeking

          this discharge of the student loans in good faith.



                   Case 20-05073        Doc# 80         Filed 08/04/20     Page 8 of 9
   52. The Plaintiffs seek the discharge of the student loans in order to not place undue hardship

       upon themselves and their children.

                                      RELIEF REQUESTED

   53. The Plaintiffs seek a fresh start from their chapter 7 bankruptcy case, and to do so,

       Plaintiffs assert that their debt for educational loans should be discharged. Excepting the

       student loans from discharge would constitute an undue hardship for the Plaintiffs and the

       Plaintiffs’ dependents.

   WHEREFORE, the Plaintiffs respectfully request that this Court adjudge and decree that the

repayment of the student loan debts would impose an undue hardship on the Plaintiffs and their

dependents as specified in 11 U.S.C. § 523(a)(8), that the Plaintiffs’ educational debts be

included in the discharge granted by this Court under 11 U.S.C. § 727 on April 22, 2019, and for

such other relief as this Court deems just and proper.

                                                     Respectfully Submitted:

                                                     ERON LAW, P.A.
                                                     Attorney for Plaintiffs

                                                         s/ January M. Bailey
                                                     January M. Bailey, #23926
                                                     301 N. Main, Ste 2000
                                                     Wichita, KS 67202
                                                     T: (316) 262-5500
                                                     F: (316) 262-5559
                                                     january@eronlaw.net




                 Case 20-05073       Doc# 80      Filed 08/04/20     Page 9 of 9
